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                        IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF SOUTH CAROLINA

                                     COLUMBIA DIVISION


 Twanda Marshinda Brown, et al,               )                  Civil Action No.
                                              )
                   Plaintiffs,                )               3:17-1426-MBS-SVH
                                              )
 v.                                           )     MEMORANDUM IN SUPPORT OF
                                              )   MOTION FOR SUMMARY JUDGMENT
 Lexington County, South Carolina, et al.,    )   ON DECLARATORY AND INJUNCTIVE
 Defendants.                                  )           RELIEF CLAIMS
                                              )
                                              )
                                              )
 _________________________________            )

                                          STATEMENT

          Defendants have moved for summary judgment regarding Plaintiffs’ claims for

declaratory and injunctive relief on the grounds that such claims by Plaintiffs are either moot and

do not set forth an existing case or controversy, or if not moot, would require intervention by this

Court in ongoing state criminal proceedings, as prohibited by Younger v. Harris, 401 U.S. 37

(1971).

          In this action, Plaintiffs have made the attention-getting, but completely erroneous,

statement that Lexington County “is home to a modern-day debtors’ prison.” Amended

Complaint, ¶ 1. That Dickensian term, “debtors’ prison,” arose in the context of imprisonment

for civil or private debt. The present case, by contrast, involves imprisonment as part of

alternative sentences when the convicted persons fail to pay fines.




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       It is axiomatic that imprisonment for failure to pay criminal fines does not constitute

“imprisonment for debt.” The Supreme Court held long ago that statutes prohibiting

imprisonment for debt

            were not intended to take away the right to enforce criminal statutes . . ..
            It was not the purpose of this class of legislation to interfere with the
            enforcement of . . . penal statutes . . .[;] such laws are rather intended to
            prevent the commitment of debtors to prison for liabilities arising upon
            their contracts.

Freeman v. United States, 217 U.S. 539, 544 (1910).

       That mischaracterization aside, the claims for which Plaintiffs seek declaratory and

injunctive relief no longer involve live cases or controversies, because most of the criminal

proceedings detailed in the Amended Complaint have ended. To the extent to which those

proceedings have not ended, Plaintiffs’ claims run afoul of the abstention doctrine in Younger v.

Harris, 401 U.S. 37 (1971), because the relief sought would inject this Court into ongoing

criminal proceedings.

       In their Amended Complaint, ECF No. 20, Plaintiffs assert five causes of action for

declaratory and injunctive relief, as follows:

               Claim 1: Incarceration Without Pre-deprivation Ability-to-Pay Hearing

               Claim 2: Failure to Afford Assistance of Counsel

               Claim 3: Unconstitutional Seizure

               Claim 7: Incarceration Without Pre-deprivation Ability-to-Pay Hearing (Plaintiff
               Goodwin only)

               Claim 8: Failure to Afford Assistance of Counsel (Plaintiff Goodwin only)

       Essentially, Plaintiffs claim that with regard to Plaintiffs or those whom they allege are

similarly situated, the Defendants should be enjoined from (1) allegedly failing to conduct pre-

deprivation ability-to-pay hearings, (2) allegedly failing to afford notice of the right to


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appointment of counsel or to afford assistance of counsel, and (3) allegedly improperly

incarcerating such persons.

       All of these claims face insuperable obstacles to their being presented to this Court in this

case. If the criminal proceedings are still proceeding against any of the Plaintiffs, their claims are

barred by Younger, supra. If the criminal proceedings against them have ended, then their claims

based on events in those cases are moot, and no longer involve live cases or controversies.

Plaintiffs have no standing to seek to enjoin future conduct, because it must be assumed that

“[plaintiffs] will conduct their activities within the law and so avoid prosecution and conviction

as well as exposure to the challenged course of conduct said to be followed by petitioners.”

O'Shea v. Littleton, 414 U.S. 488, 497 (1974).

                                              FACTS

       As set forth in detail in the affidavit of Colleen Long, attached as Exhibit 1, the criminal

proceedings pertaining to most of the seven Plaintiffs have ended. 1 They were sentenced to pay

fines or serve jail sentences. Once they failed to pay the fines or make other arrangements, they

were arrested and jailed as a result of their alternative jail sentences. After the terms of their

sentences had run, they were released. Having served the alternative of jail time, they were no

longer subject to having to pay fines for those offenses, and their sentences for those offenses

were therefore completely satisfied. As a result, they no longer faced future arrest or jail time for

those offenses. This is true for six of the seven Plaintiffs: Twanda Brown, Amy Marie Palacios,




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  Because the facts set forth in the affidavit do not appear to be reasonably subject to dispute, and
indeed for the most part have been alleged in the Amended Complaint, the underlying records
have not been attached to the affidavit. If Plaintiffs suggest that any facts in the affidavit are
incorrectly stated, pertinent records will be submitted via reply affidavit.

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Cayeshia Johnson, Sasha M. Darby, Nora Ann Corder, and Raymond Wright, Jr.2 The one

exception is Xavier Goodwin, who was sentenced on April 4, 2017 to both jail time and the

payment of a fine for driving under suspension, 3rd offense. His jail time has been served. With

respect to the fine, on May 5, 2017, he signed a payment plan requiring him to make payments of

$100 per month, starting on June 5, 2017. He has not made any payments pursuant to that plan,

and as a result could be subject to a bench warrant and arrest for that failure.

         None of the Plaintiffs sought to raise in the state proceedings the claims which they seek

to present in this Court, even though their counsel were well aware that the criminal proceedings

against at least some of the Plaintiffs were still ongoing. It is noteworthy that the two primary

cases on which Plaintiffs rely for their substantive claims, Bearden v. Georgia, 461 U.S. 660

(1983) and Argersinger v. Hamlin, 407 U.S. 25 (1972)(both cited at p. 10 of Plaintiffs’ class

certification memorandum), both reached the Supreme Court via appeals in the individual state

cases.

                                           ARGUMENT

         1.       The claims of the six Plaintiffs whose state proceedings have ended no longer
                  present live cases or controversies.

         As indicated by the factual summary above, the proceedings relating to six of the seven

Plaintiffs, the only exception being Mr. Goodwin, have ended. Those Plaintiffs’ sentences have

been satisfied.

         In Paragraph 426 of the Amended Complaint, Plaintiffs assert that “To the extent they are

not currently incarcerated, Class members (including Plaintiffs Goodwin and Wright) face a


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  Ms. Johnson still owes at least $905 in fines for three offenses which did not carry the
alternative of jail time. However, the method of enforcing such fines and offenses is not via
incarceration, but instead is by reporting them to DMV, which then suspends the driver’s license
of the offender pursuant to S.C. Code Ann. §§ 56-25-10, et seq. .

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substantial and imminent threat of being arrested and incarcerated for nonpayment of magistrate

court fines and fees . . . .” In fact, none of them are currently incarcerated, the last of them, Mr.

Wright, having completed his sentence on August 1, 2017. As a result, their claims for

declaratory and injunctive relief have become moot, and no longer present a live case or

controversy. Plaintiffs’ claim of a “substantial and imminent threat of being arrested and

incarcerated for nonpayment of magistrate court fines and fees” is based on an assumption which

the courts have consistently declined to entertain, that is, the assumption that a person will re-

offend. To the contrary, it must instead be assumed that “[plaintiffs] will conduct their activities

within the law and so avoid prosecution and conviction as well as exposure to the challenged

course of conduct said to be followed by petitioners.” O'Shea v. Littleton, 414 U.S. 488, 497

(1974). O’Shea, a landmark case in the area of standing and case or controversy, is still in full

force and effect today. See, e.g., Simic v. City of Chicago, 851 F.3d 734, 738 (7th Cir. 2017).

       O’Shea involved plaintiffs who alleged a continuing pattern and practice of conduct

consisting of illegal bond, sentencing, and jury fee practices in criminal cases. They did not

challenge any substantive criminal statute, just as the plaintiffs in the present case do not claim

that the substantive traffic laws they have violated are in any way invalid. The Supreme Court in

O’Shea summarized in just a few lines the reasons why those plaintiffs, and those in the present

case as well, cannot present their claims in a federal action:

            Neither the complaint nor respondents’ counsel suggested that any of the
            named plaintiffs at the time the complaint was filed were themselves
            serving an allegedly illegal sentence or were on trial or awaiting trial
            before petitioners. Indeed, if any of the respondents were then serving an
            assertedly unlawful sentence, the complaint would inappropriately be
            seeking relief from or modification of current, existing custody. See
            Preiser v. Rodriguez, 411 U.S. 475 (1973). Furthermore, if any were
            then on trial or awaiting trial in state proceedings, the complaint would
            be seeking injunctive relief that a federal court should not provide.
            Younger v. Harris, 401 U.S. 37 (1971).

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O’Shea, supra, 414 U.S. at 496. The Court went on to say that “What [plaintiffs] seek is an

injunction aimed at controlling or preventing the occurrence of specific events that might take

place in the course of future state criminal trials. . . . This seems to us nothing less than an

ongoing federal audit of state criminal proceedings which would indirectly accomplish the kind

of interference that Younger v. Harris, supra, and related cases sought to prevent.” Id. at 500

(emphasis added). Again, this describes with precision the kind of relief sought by the plaintiffs

in the present case. For these reasons, it is abundantly clear that the six plaintiffs whose criminal

prosecutions have ended no longer have standing to bring their declaratory and injunctive relief

claims in the present action. For the same reasons, those claims are moot and do present a live

case or controversy.

       2.      The abstention doctrine of Younger v. Harris, 401 U.S. 37 (1971), bars this
               Court’s consideration of the claims of the one Plaintiff (Goodwin) whose
               pending charges have not been completely resolved.

       Only one Plaintiff, Xavier Goodwin, has not completely satisfied the criminal charges set

forth in the Amended Complaint. He still owes $2,100 or more in fines and fees based on his

conviction for DUS, 3rd offense, and he has not made any of his scheduled time payments. The

proceedings against him have therefore not ended, but instead are still ongoing.

       While the fact that Plaintiff Goodwin’s state criminal case remains ongoing means that it

does involve a live case or controversy, the declaratory and injunctive relief claims of Plaintiff

Goodwin cannot be asserted in this Court because they would require the court to insert itself

into an ongoing criminal prosecution, in violation of the precepts of Younger v. Harris, supra, as

already indicated by the quote from O’Shea, supra.

       In Middlesex County Ethics Comm. v. Garden State Bar Ass’n, 457 U.S. 423, 431 (1982),

the Supreme Court articulated a three-prong test for determining when a federal court must



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abstain from hearing a suit under Younger. 457 U.S. at 432. A federal court must abstain from

hearing a suit if deciding the merits of the suit would interfere with a state proceeding that is: (1)

On-going, (2) implicates important state interests, and (3) provides an adequate opportunity to

raise federal questions.

       All three of these requirements are met in the present case. As to the first requirement,

there is no question that the DUS, 3rd offense, proceeding against Plaintiff Goodwin is still

ongoing, because the sentence has not yet been satisfied. As to the second requirement,

violations of state traffic laws implicate an important state interest-the safety of its roadways. See

Mackey v. Montrym, 443 U.S. 1, 17 (1979)(stating that the state has a paramount interest in

preserving the safety of its public highways). Moreover, traffic court cases are included among

the kinds of state criminal proceedings to which Younger abstention applies. See, e.g., Gorenc v.

City of Westland, 72 F. App'x 336, 338 (6th Cir. 2003)(speeding ticket). Finally, there can be no

question that if a bench warrant is issued for his arrest, Mr. Goodwin either previously has had,

or would eventually have an adequate opportunity to raise some, if not all, of his current

challenges in the context of the state proceedings, and he would have an army of lawyers to help

him if his current counsel were to appear in any such proceeding.3 Indeed, one of the allegations

in the Amended Complaint is that public defenders are not assigned “to meet with indigent

people incarcerated in the Detention Center under bench warrants.” Amended Complaint, ¶ 11.4



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 Non-habeas claims of denials of right to counsel in a state case cannot be made in federal court.
See, e.g., Jones v. Crosby, 137 F.3d 1279, 1280 (11th Cir. 1998). citing the Rooker-Feldman
doctrine (District of Columbia Court of Appeals v. Feldman, 460 U.S. 462 (1983); Rooker v.
Fidelity Trust Co., 263 U.S. 413 (1923); Reece v. Whitley, 2016 WL 705265, at *5 (M.D. Tenn.
Feb. 23, 2016), report and recommendation adopted, 2016 WL 5930886 (M.D. Tenn. 2016).
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  It should also be noted that Younger has been held to bar challenges in federal court to the
adequacy of a state’s indigent criminal defense system. Luckey v. Miller, 976 F.2d 673 (11th Cir.
1992).

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                                        CONCLUSION

       For the foregoing reasons, Defendants respectfully submit that Plaintiffs’ claims for

declaratory and injunctive relief should be dismissed.5


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Columbia, South Carolina

August 18, 2017




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  The Defendants against whom damages are sought will soon move for summary judgment on
the damage claims as well, based on, among other things, judicial immunity and the absence of
policies such as Plaintiffs allege to be in existence.

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